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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


SECURITY DATA SUPPLY, LLC,   *                        CIVIL ACTION NO.
SDS OF NEW ORLEANS, LLC, SDS *
OF BATON ROUGE, LLC, SDS OF  *
MANDEVILLE, LLC, SDS OF      *                        JUDGE
MONROE, LLC, SDS OF BOSSIER  *
CITY, LLC, SDS OF DALLAS, LLC,
                             *
SDS OF HOUSTON, LLC, SDS OF  *                        MAGISTRATE
SAN ANTONIO, LLC, SDS OF     *
JACKSON, LLC, SDS OF MOBILE, *
LLC, AND SDS OF CENTRAL TEXAS,
                             *
LLC                          *
                             *
VERSUS                       *
                             *
NORTEK SECURITY AND CONTROL, *
LLC, WAVE ELECTRONICS, INC.  *
AND EARNEST BERNARD          *
                             *
* * * * * * * * * * * * * * * *                       *   *   *   * *   *   *   *   *   *   *   *

                                    VERIFIED COMPLAINT

         Plaintiffs, Security Data Supply, LLC, SDS of New Orleans, LLC, SDS of Baton Rouge,

LLC, SDS of Mandeville, LLC, SDS of Monroe, LLC, SDS of Bossier City, LLC, SDS of Dallas,

LLC, SDS of Houston, LLC, SDS of San Antonio, LLC, SDS of Jackson, LLC, SDS of Mobile,

LLC, and SDS of Central Texas, LLC (collectively referred to as “SDS”), files this Complaint

against Nortek Security and Control, LLC, Wave Electronics, Inc. and Earnest Bernard, and alleges

the following:

                                   SUMMARY OF THE CASE

    1. SDS brings this action under the antitrust laws of the United States and specifically, pursuant

         to the provisions of the Robinson-Patman Act, 15 U.S.C. §13, et. seq., and the Clayton Act,



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         15 U.S.C. §15, seeking treble damages, attorney's fees and other incidental relief based upon

         the defendants' predatory pricing and price discrimination practices ~i.e., secondary-line

         price discrimination - as hereinafter more fully and particularly described. As a result of

         these defendants' violations of the antitrust laws, SDS has suffered "antitrust injury" (a loss

         of business, sales and profits caused by said defendants' unlawful price discrimination) and

         "competitive injury" (the diversion of sales and profits from SDS to defendants' favored

         purchasers).

    2. SDS also alleges state law based claims for violations of the Louisiana Unfair Trade

         Practices Act, the Texas Deceptive Trade Practices Act, the California Unfair Trade

         Practices Act, the California Unfair Competition Law, Corporate Bribery, and violation of

         the implied covenant of good faith and fair dealing. As a result of these violations, SDS has

         suffered significant damages and is entitled to recover damages, treble damages, attorneys’

         fees, litigation costs and penalties.

                                                     PARTIES

Security Data Supply – The Aggrieved Distributor

    3. Plaintiff, Security Data Supply, LLC, is a Limited Liability Company organized under the

         laws of the State of Louisiana. SDS’s principal place of business is located at 421 North

         Florida Street, Covington, LA 70433.

    4. Security Data Supply, LLC is a wholesale distributor of CCTV, intrusion alarm systems,

         access control, fire alarms and home automation systems that distributes product, including,

         but not limited to, the “Nortek Products” which are subject to this action. to retailers and

         installers nationally via online sales and ten branches/franchises located throughout the

         southeastern portion of the United States.


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    5. Plaintiff, SDS of New Orleans, LLC, a franchisee of Security Data Supply, LLC, is a

         Limited Liability Company organized under the laws of the State of Louisiana. SDS of New

         Orleans’s principal place of business is located at 3204 48th Street, Metairie, LA 70001.

    6. Plaintiff, SDS of Baton Rouge, LLC, a franchisee of Security Data Supply, LLC, is a

         Limited Liability Company organized under the laws of the State of Louisiana. SDS of

         Baton Rouge’s principal place of business is located at 10652 Alco Ave., Baton Rouge, LA

         70816.

    7. Plaintiff, SDS of Mandeville, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Louisiana. SDS of Mandeville’s

         principal place of business is located at 530 Asbury Drive, Suite B, Mandeville, LA 70471.

    8. Plaintiff, SDS of Monroe, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Louisiana. SDS of Monroe’s

         principal place of business is located at 805 Drago Street, West Monroe, LA 71291.

    9. Plaintiff, SDS of Bossier City, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Louisiana. SDS of Bossier

         City’s principal place of business is located at 4004 Shed Road, Bossier City, LA 71111.

    10. Plaintiff, SDS of Dallas, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Texas. SDS of Dallas’s

         principal place of business is located at 2225 East Beltline Road, Suite 205, Carrollton, TX

         75006.

    11. Plaintiff, SDS of Houston, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Texas. SDS of Houston’s

         principal place of business is located at 10202 Fairbanks N. Houston, Houston, TX 77064.


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    12. Plaintiff, SDS of San Antonio, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Texas. SDS of San Antonio’s

         principal place of business is located at 403 Ramsey Road, Suite 101, San Antonio, TX

         78216.

    13. Plaintiff, SDS of Jackson, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Mississippi. SDS of Jackson’s

         principal place of business is located at 505 Julienne Street, Jackson, MS 39201.

    14. Plaintiff, SDS of Mobile, LLC, a franchisee of Security Data Supply, LLC, is a Limited

         Liability Company organized under the laws of the State of Alabama. SDS of Mobile’s

         principal place of business is located at 3350 Halls Mill Road, Suite #D, Mobile, AL 36606.

    15. Plaintiff, SDS of Central Texas, LLC, a franchisee of Security Data Supply, LLC, is a

         Limited Liability Company organized under the laws of the State of Texas. SDS of Central

         Texas’ principal place of business is located at 403 E. Ramsey Road, Suite 101, San

         Antonio, TX 78216.

Nortek Security and Control – The Predatory Manufacturer

    16. Defendant, Nortek Security and Control, LLC (“NSC”) is a Limited Liability Company

         organized under the laws of the State of California. Defendant NSC’s principal place of

         business is located at 1950 Camino Vida Roble, Suite 150, Carlsbad, CA 92008.

    17. NSC is a manufacturer of security, home automation and personal security systems,

         including, but not limited to, 2GIG security products, and is the alleged leader in wireless

         security, home automation and personal safety systems and devices having deployed more

         than 4 million commercial, residential and personal security systems.




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    18. NSC sells its products through a distribution chain where it sells its products to wholesale

         distributors such as SDS and Wave Electronics, Inc. These wholesale distributors then sell

         the product to retailers and installers who provide the equipment to end users.

    19. NSC maintains a 10% market share of the $2.95 billion intrusion alarm security market, andf

         is third to only to Honeywell International and Tyco.

    20. NSC is the manufacturer of 2GIG – Security and Control systems, an intelligent connected

         system for residential intrusion detection (“Nortek Products”).

Wave Electronics, Inc. – The Favored Purchaser

    21. Defendant, Wave Electronics, Inc.          (“Wave” and “Favored Purchaser”) is a Texas

         Corporation organized under the laws of the State of Texas. Defendant Wave’s principal

         place of business is located at 8648 Glenmont Drive, Suite 130, Houston, Texas while

         managing branches located in Texas, Louisiana, Florida, California, Arizona and New York.

    22. Wave is a direct competitor of SDS and is also a wholesale distributor of networking, audio,

         CCTV, intrusion alarm systems, access control, fire alarms and home automation systems

         that distributes product to retailers and installers nationally via online sales and eleven

         branches located in Texas, Louisiana, Florida, California, Arizona and New York, including,

         but not limited to, the Nortek Products which are subject to this action.

    23. Wave, along with SDS, is a distributor of NSC’s 2GIG – Security and Control Systems.

    24. Accordingly, Wave is a direct competitor of SDS with respect to the marketing and sale of

         Nortek Products, and remains a direct competitor of SDS in the marketing and sale of

         security and control systems in general and specifically within the geographic areas where

         the marketing territories overlap as well as the entire United States for online sales.




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    25. SDS and Wave compete for business from the same customers in the same distribution

         chain.

    26. However, SDS has been unable to successfully compete with Wave since October 2015 due

         to the Defendants' wrongful conduct, as herein below described.

Earnest Bernard – the Bribee / NSC’s Bag Man

    27. Defendant, Earnest Bernard (“Bernard”) is a former employee of NSC who is a resident of

         Houston, Texas who worked in NSC’s Texas based office. He is currently employed by

         Qolsys and lives at 6508 Parkway Avenue, North Richland Hills, TX 76182.

    28. Bernard worked as NSC’s sales representative selling 2GIG products to both SDS and Wave.

    29. While employed by, and on behalf of, NSC, Bernard provided Wave with preferential

         pricing via a significant unpublished rebate allowing Wave to price its 2GIG products for

         sale to retail customers at a price that was less than SDS’ wholesale price. Wave refered to

         this anti-competitive program as the “Four Star Program.”

    30. NSC’s corporate management was aware that Bernard was providing this preferential pricing

         to Wave to the detriment of NSC’s other wholesale distributors.

    31. In return for NSC allowing Wave’s anti-competitive pricing, Bernard accepted corporate

         bribes from Wave consisting of payments from Wave, MSTR Brands (a Wave subsidiary) as

         well as funds laundered through American Express gift cards in lieu of cash payments.

    32. NSC, Wave and Bernard have all conspired with each other to commit intentional or willful

         acts destroying the competitive market for Nortek Products against SDS and are answerable,

         in solido, for the damage caused by such acts.

                                     JURISDICTION AND VENUE




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    33. This Court possesses subject matter jurisdiction over SDS' claims asserted under the

         Robinson-Patman and Clayton Acts, as hereinafter set forth, pursuant to 15 U.S.C. §13, et.

         seq., and 15 U.S.C. §15, based on federal question jurisdiction.

    34. This Court possesses subject matter jurisdiction over SDS’ claims asserted, as hereinafter set

         forth, pursuant to 28 U.S.C. §1337, as this action arises under an Act of Congress regulating

         commerce or protecting trade and commerce against restraints.

    35. This Court possesses subject matter jurisdiction over SDS' state law claims asserted against

         defendants, as hereinafter set forth, pursuant to 28 U.S.C. § 1367, based on the principles of

         supplemental jurisdiction.

    36. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) and (3), and 28 U.S.C.

         §1391(c) and (d), in that the defendants are subject to personal jurisdiction in this District,

         and a substantial part of the events and omissions giving rise to SDS' claims occurred in this

         District.

                                                    FACTS

    SDS and Wave are Direct Competitors and Distributors of NSC Products

    37. Both SDS and Wave are authorized manufacturer distributors of the 2GIG security

         equipment manufactured by NSC.

    38. NSC distributes its 2GIG line of products from facilities and offices located in California and

         Colorado.

    39. SDS has been in the business of distributing NSC, and their predecessors’ products, since

         2004.

    40. Wave is an entity that is new to the business of distributing Nortek Products as it formerly

         served solely as a distributor of consumer audio and video products.


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    41. Wave first became involved as a distributor of NSC’s 2GIG products in 2015 when it made

         the decision to sell the 2GIG line of products.

    42. SDS and Wave target the identical market of product installers and retailers in geographic

         regions that overlap.

    43. Due to internet sales, both SDS and Wave compete in all fifty states distributing security

         panels to an infinite number of retail dealers and installers.

    44. Furthermore, the brick and mortar retail outlets for both SDS and Wave cover similar

         territories that overlap each other, predominately in the states of Louisiana and Texas.

    45. As the manufacturing and distribution of the 2GIG products from NSC originate in

         California and Colorado, and SDS and Wave maintain outlets in both Texas and Louisiana,

         the sale and distribution of NSC electronics to both SDS and Wave cross state lines and fall

         within the category of interstate commerce.

    46. The relevant sales/ transactions referenced herein were all made across state lines.

    Wave and NSC Conspired to Provide Preferential Pricing to Wave

    47. The 2GIG products referenced in this Complaint are identical products that are of like grade

         and quality.

    48. Nortek intentionally discriminated in price between SDS and Wave with respect to the

         pricing of 2GIG products.

    49. For years, SDS purchased equipment from NSC pursuant to terms similar to those provided

         to SDS’ competitors that also sold similar Nortek Products.

    50. Pursuant to those terms, each supplier competed with the others based upon price, delivery,

         credit terms, location and customer service.




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    51. NSC’s terms were consistent and only varied in limited circumstances when the Nortek

         Products being sold to special dealers that purchased an extraordinary volume of NSC

         equipment.

    52. The special pricing for these extraordinary retailers was negotiated through wholesalers such

         as SDS or Wave.

    53. After Wave entered this market, they created a program that they named the “Four Star

         Program” where they would work with NSC to provide special pricing to extraordinary

         equipment purchasers.

    54. This special Four Star Program pricing provided for a standard sales price but provided a

         significant rebate that was kicked back to the Preferred Purchaser after the sale was

         complete.

    55. This significant rebate reduced the wholesale cost of the product and allowed the Preferential

         Purchaser to sell its products at a price lower than the standard wholesale price for the

         product while still earning a significant profit.

    56. As a result of the rebate scheme, the pricing that NSC provided to Wave for these Four Star

         retailers was significantly lower than the prices offered to SDS, and Wave’s other

         competitors.

    57. In fact, Wave’s published retail sales price for similar products was significantly less than

         the wholesale price that NSC sold similar equipment to SDS.

    58. Wave was able to sell these products to its clients for a price lower than the price charged by

         NSC to SDS due to the special terms and rebates negotiated between NSC and Wave for the

         Four Star Program.




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    59. Wave and NSC conspired to put nearly all of Wave’s customers in the Four Star Program,

         obtaining preferential pricing and rebates by combining many of its customers into a single

         retail customer that qualified for the Four Star pricing.

    60. As such, virtually all of Wave’s customers fell within the scope of the program, and Wave

         was provided preferential pricing and rebates on all of the Nortek Products that it purchased

         from NSC.

    61. NSC was, at all times, aware that Wave was misusing the Four Star Program to secure

         artificially low pricing and rebates for its customers that did not meet the requirements to

         obtain special pricing.

    Wave Conspired with and Bribed NSC to Obtain Preferential Pricing

    62. NSC, and its employees, were active participants in this scheme in an attempt to push a

         higher percentage of its product through Wave, its Preferred Distributor, as Wave was

         providing NSC, through its employees, with corporate bribes and kickbacks to have them

         overlook the misrepresentations required to make the Four Star Program the standard pricing

         for Wave’s customers.

    63. Furthermore, once NSC’s senior management became aware of the scheme, they allowed it

         to continue.

    64. MSTR Brand is a sister company of Wave that uses Wave’s principal place of business

         located at 8648 Glenmont Drive, Suite 130, Houston, Texas as its primary business address.

    65. MSTR Brand is a distributor of audio and video products owned by Mark and Ainslie

         Fukuda.

    66. Mark Fukuda is also the President and Chief Operating Officer of Wave.

    67. Ainslie Fukuda is also the Vice President of Purchasing of Wave.


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    68. Wave and NSC developed a scheme where Wave provided bribes and corporate kickbacks to

         NSC by issuing payments from MSTR Brand’s accounts directly to Bernard, NSC’s

         employee.

    69. MSTR Brand provided Bernard with a 1099 tax form that provided evidence of the payments

         made to Bernard.

    70. As Bernard was an employee of NSC, and not a true MSTR dealer, and the issuance of a

         1099 provided evidence of the scheme, Wave discontinued the use of MSTR Payments to

         bribe Bernard and instead started purchasing American Express Gift cards that it provided to

         Bernard in lieu of the bribery payments previously issued by MSTR Brands.

    71. Wave used these American Express Gift Cards as bribery payments as they provided less of

         a paper trail evidencing the payments.

    72. Bernard used the corporate bribes that he received from MSTR Brand to pay off his home

         and vehicle.

    73. NSC and Bernard, in return for the bribes provided by Wave through its MSTR Brand

         subsidiary, agreed to allow Wave to perpetuate its scheme of placing virtually all of its

         smaller dealers into the Four Star Program allowing Wave to receive preferential pricing that

         was not provided to NSC’s other distributors such as SDS.

    74. This bribery scheme, and the acceptance of Wave’s Four Star Program as a single preferred

         dealer, was done with the knowledge of Wave and Wave’s senior management.


    Wave Obtained Preferential Pricing from NSC by Aggregating All Small Dealers into a
    Single Dealer for Rebate Purposes

    75. NSC executives and managers have discussed their knowledge of the Four Star Program

         scheme with representatives of SDS on several occasions admitting that they had knowledge


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         of the program, that the program provided for unfair competition, was illegal and needs to be

         stopped.

    76. NSC consulted with outside counsel who informed them that the acceptance of the Four Star

         Program, and its preferential pricing scheme, was a violation of United States Antitrust law

         and needed to be stopped right away.

    77. In April of 2017, NSC’s Chief Operating, Officer Michael O’Neal, met with SDS’ President,

         Ron Broussard, in Las Vegas, Nevada and discussed the anti-competitive nature of the Four

         Star Program.

    78. NSC’s CEO admitted that the Four Star Program was being abused by Wave and promised

         that NSC would halt the program, and its anti-competitive rebate scheme, right away.

    79. Despite NSC’s April 2017 assertion that the program would stop immediately, the program

         continues and SDS remains unable to compete with Wave selling Nortek Products.

    80. Mr. Broussard also discussed Wave’s preferential pricing scheme with Rick Campbell,

         NSC’s product representative for both Wave and SDS.

    81. On August 1, 2017, NSC’s National Sales Manager, Bill Donahue, notified Wave that the

         Four Star Program would be disbanded within 30 days.

    82. Bill Donahue informed Mr. Broussard that NSC’s outside counsel had instructed NSC’s

         management that the program must be shut down immediately.

    83. Mr. Donahue informed Mr. Broussard that NSC’s senior managers were not interested in

         shutting the program down immediately and instead wanted to run the scheme through the

         end of 2017.




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    84. Wave objected to the discontinuation of the program and contacted Dan Geiger, Senior Vice

         President of Sales, and Mike O’Neal, NSC’s Chief Operating Officer, to request the

         continuation of the program.

    85. Mr. Geiger provided Wave with a continuation of their anti-competitive scheme for all

         dealers for another sixty days and grandfathered in Wave’s top thirty dealers allowing them

         to continue to utilize preferential pricing for a majority of its business.

    86. NSC’s National Sales Manager, Bill Donahue, spoke to Mr. Broussard on August 25, 2017.

    87. Mr. Donahue admitted that Wave was running hundreds of dealers through the Four Star

         Program and that SDS should be scratching its head trying to figure out how these small

         dealers received pricing so low.

    88. Mr. Donahue admitted that NSC was aware that Wave uses the Four Star Program pricing as

         “their day to day sale price.”

    89. Mr. Donahue admitted that Wave has enjoyed this special pricing scheme since October of

         2015.

    90. Mr. Donahue told Mr. Broussard that Wave “had a distinct advantage in the marketplace”

         and that Wave built their business “at the detriment of some our other distribution partners.”

    91. Mr. Donahue told Wave that what they were doing borders on being illegal, can get Nortek

         in trouble and must immediately stop.

    92. Mr. Donahue also admitted that Wave had a distinct pricing advantage against all other

         2GIG distributors in the day to day business of selling 2GIG products.

    93. Mr. Donahue admitted to Mr. Broussard that NSC and Wave’s pricing structure was wrong,

         hurting NSC’s reputation in the market, damaging the pricing integrity of the market, and

         damaging all of NSC’s distributor relationships.


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    94. Mr. Donahue brought his concerns to the General Counsel of NSC, Dan Schatz, who

         admitted that the scheme was illegal and told Mr. Donahue that the scheme had to stop right

         away.

    95. Despite Mr. Donahue pleading with NSC to end the pricing program immediately, Chris

         Miller, Vice President of Strategy and Development, opposed ending the program, even after

         being admonished by outside counsel that the program is illegal.

    96. NSC continued with this scheme, long after outside counsel notified them that the program

         was illegal, in an effort to drive SDS from the market allowing Wave to retain the market

         share that it had developed by the use of the Four Star Program.

    97. Mr. Donahue also admitted that allowing Wave to grandfather in 30 of its best dealers into

         the ongoing Four Star Program is unfair and would have a detrimental impact upon the

         relevant market.

    SDS has Sustained Significant Financial Losses as a Result of Defendants’ Predatory
    Pricing Scheme

    98. SDS suffered significant financial losses due to the loss of market share caused by NSC’s

         unfair pricing scheme.

    99. As a result of the price discrimination, SDS has lost a significant number of customers to

         Wave, has been unable to compete with Wave for new potential customers and has suffered

         significant financial losses including the loss of sales, profits and market share.

    100.         SDS has lost approximately 59 clients to Wave due to SDS inability to match the

         prices offered by Wave.

    101.         The loss of business to Wave continues to grow and this list will grow as long as the

         prohibited price description continues.



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    102.       SDS estimates its annual losses for each of the 59 clients as follows:

       SDS Location        Customer                           Estimated Annual Volume
       Houston             CSG                                $         300,000.00
       Houston             Light Speed Security               $        240,000.00
       Houston             Datasmart                          $          20,000.00
       Houston             C.O.C. Surveillance                $          15,000.00
       Houston             W&W Telephone                      $          10,000.00
       Houston             AHS Solutions                      $          10,000.00
       Houston             Halo Professionals                 $          40,000.00
       Houston             RAB                                $         240,000.00
       Houston             Juggernaut Systems                 $         180,000.00
       Houston             Safeguard Burglar                  $         240,000.00
       Houston             Golden Gates Security              $        100,000.00
       Dallas              Select Security Group              $        180,000.00
       Dallas              DFW Security                       $      1,200,000.00
       Dallas              Vault Security                     $        600,000.00
       Dallas              Forward Home Security              $      1,080,000.00
       Dallas              The Chron Organization             $         240,000.00
       Shreveport          United Automation                  $         250,000.00
       Shreveport          ASG Monroe                         $         100,000.00
       Shreveport          Allied Security Technology         $        100,000.00
       Shreveport          Alarmco                            $          50,000.00
       Shreveport          Security Pro                       $          80,000.00
       Shreveport          Modern Security                    $          35,000.00
       Shreveport          Cam-Tech                           $          35,000.00
       Shreveport          Smart Security                     $          35,000.00
       Baton Rouge         Elite Solutions                    $         100,000.00
       Baton Rouge         A-1 Security                       $          30,000.00
       Baton Rouge         Heavenly Homes                     $          30,000.00
       Baton Rouge         DMI                                $          30,000.00
       Baton Rouge         Smart Homes of La                  $         120,000.00
       Baton Rouge         Louisiana Custom Media             $         120,000.00
       Baton Rouge         Custom Security                    $         400,000.00
       Mandeville          LA Nationwide                      $         120,000.00
       New Orleans         USA Fire and Burg                  $         750,000.00
       New Orleans         Lynk Security                      $        100,000.00
       New Orleans         Top Notch Security                 $          75,000.00
       New Orleans         Safe and Secure                    $          75,000.00
       New Orleans         State of the Art                   $          50,000.00
       New Orleans         Alpha Security                     $        100,000.00
       New Orleans         ABC Security                       $         175,000.00
       New Orleans         Crescent City Electonics           $          50,000.00


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       New Orleans           Sound Creation                    $          100,000.00
       New Orleans           Tassin Security                   $          100,000.00
       New Orleans           Hallock Security                  $           50,000.00
       New Orleans           Eagle Security                    $           50,000.00
       New Orleans           Home Protection                   $           50,000.00
       New Orleans           Major Security                    $           75,000.00
       New Orleans           Savoie Security                   $          100,000.00
       New Orleans           Pro A/V                           $           50,000.00
       New Orleans           BP Security                       $           50,000.00
       New Orleans           Texas Fire                        $          125,000.00
       New Orleans           Digitech Security                 $           50,000.00
       New Orleans           Hi Tech Smart Homes               $           50,000.00
       Mobile                IET                               $           60,000.00
       Mobile                ASAP                              $          150,000.00
       Mobile                Tapper                            $          200,000.00
       Mobile                Watchtower                        $           60,000.00
       Mobile                Trio Alarm                        $          200,000.00
       Mobile                Persich                           $           75,000.00
       Mobile                Prostar                           $           75,000.00
       Mobile                Securimax                         $          200,000.00
                             TOTAL                             $        9,575,000.00


    103.        These losses are annual losses that are easily accounted for. In addition to these

         losses, SDS has lost other business that they have not yet been able to quantify as of the

         filing of this Complaint.

    104.        In addition to the loss of these 59 clients, SDS has recently opened an outlet in San

         Antonio, Texas.

    105.        Although the San Antonio store is a distributor of Nortek products, SDS has not been

         able to sell a single piece of Nortek Products in this market because Wave is offering the

         Nortek Products for sale at prices 40% below the wholesale price that NSC sells the

         equipment to SDS.




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    106.        SDS has discovered that the substantial decreases which it experienced in the sale of

         Nortek Products was and remains the proximate result of defendants' predatory price

         discrimination and other unlawful conduct.

    107.        SDS’ drop in Nortek Product sales was instigated and promoted by defendants

         actions including unfair pricing and corporate bribery.

    108.        Due to Nortek’s preferred pricing program that favors Wave over all other

         distributors, there remains only one significant distributor of Nortek Products therein,

         Nortek’s favored purchaser, Wave.




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                                              COUNT I –

                      VIOLATIONS OF 15 U.S.C. §13(a) (Robinson-Patman Act)

    109.        SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.

    110.        At all relevant times hereto, NSC, Wave and Bernard were, and continue to be,

         persons engaged in commerce, as defined by 15 U.S.C. §13 of the Robinson-Patman Act.

    111.        During the relevant time periods herein and continuing through the present time,

         NSC has manufactured and sold, and continues to manufacture and to sell the Nortek

         Products through SDS and Wave.

    112.        At all relevant times hereto, NSC, through SDS and Wave and other manufacturer

         representatives, in the course of commerce has manufactured and sold the Nortek Products to

         numerous distributors and customers located throughout the United States, many of whom

         being in direct competition with SDS, including, but not limited to Wave, the Favored

         Purchaser.

    113.        At all relevant times hereto and continuing through the present time, SDS has

         purchased large quantities of the Nortek Products from NSC for resale to SDS’ customers.

    114.        At all relevant times hereto and as more particularly described herein, NSC, in the

         course of commerce has sold, and are continuing to sell, Nortek Products to the Favored

         Purchaser - commodities of like grade and quality to those sold by NSC to SDS at

         discriminatory prices which prices were, and remain, substantially less than NSC charged,

         and presently is charging, to SDS for the identical Nortek Products.

    115.        Upon information and belief, as more particularly described herein above, and in the

         course of commerce, NSC has sold Nortek Products, and/or commodities of like grade and


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         quality, to Wave, the Favored Purchaser, granting to them rebates, discounts and other

         allowances, and/or "special" financing terms, which were not disclosed to, offered to, or

         given to SDS.

    116.         Upon information and belief, NSC's predatory pricing and related illegal

         discriminatory practices were not, and are not, justified based upon any differences in the

         cost of manufacture, sale or delivery resulting from any differing methods or quantities in

         which the subject commodities were, or are, sold or delivered to SDS, as compared to the

         Favored Purchasers of Nortek Products, or products of like grade and quality.

    117.         Upon information and belief, NSC's predatory pricing and related illegal

         discriminatory practices as aforesaid with respect to its sales of Nortek Products, or as to its

         sales of commodities of like grade and quality, were not, and are not, justified based upon

         changing conditions affecting the market for, or the marketability of, the goods concerned.

    118.         SDS, and its competitors, including the Favored Purchaser, market and sell both the

         Nortek Products and other electronics to the same customers, and did so contemporaneously

         during the relevant time periods herein.

    119.         As a result of NSC's predatory pricing and related illegal discriminatory practices

         with respect to their sales of Nortek Products, SDS effectively has been precluded from

         selling Nortek Products and other electronics to certain of its customers, and/or SDS has

         suffered a substantial decrease in sales and profits to many of its customers.

    120.         As a direct and proximate result of the discriminatory pricing and related illegal

         practices being engaged in by NSC, with respect to the Favored Purchaser, SDS’ ability to

         compete with the Favored Purchaser (and perhaps other favored distributors) for sales of the




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         Nortek Products to SDS’ customers has been substantially diminished, and, SDS’ ability to

         compete with the Favored Purchaser has been totally eliminated.

    121.          The effect of NSC's predatory actions and unfair business conduct has been

         substantially to lessen competition in the affected line of commerce, and particularly in the

         areas where SDS and Wave’s market’s overlap.

    122.          NSC's predatory actions and unfair business conduct have injured, destroyed and/or

         prevented fair competition among SDS and its competitors, and particularly in the areas

         where SDS and Wave’s market’s overlap.

    123.          NSC's predatory actions and unfair business have injured, destroyed and/or prevented

         fair competition among SDS and its competitors (including, but not limited to, the Favored

         Purchaser), who have received the benefit of NSC's price discrimination and related

         improper sales practices.

    124.          NSC's predatory actions and unfair business conduct have injured, destroyed and/or

         prevented fair competition among SDS' and its competitors' customers.

    125.          NSC's predatory actions, price discrimination and unfair business conduct as

         referenced herein constitute multiple violations of the Robinson-Patman Act, including, but

         not limited to, 15 U.S.C. §13(a).

    126.          As a proximate result of NSC's predatory actions, price discrimination and unfair

         business conduct as referenced herein, SDS has suffered substantial economic losses and

         other damage to its business, reputation and customer goodwill, including, but not limited to,

         lost sales and profits.

                                             COUNT - II

               VIOLATIONS OF 15 U.S.C. §§13(a) and 13(f) (Robinson-Patman Act)


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    127.        SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.

    128.        Wave and Bernard, being persons engaged in commerce, in the course of such

         commerce as described above, knowingly have induced (and are continuing to induce),

         and/or knowingly have received (and are continuing to receive), discriminations in the prices

         of Nortek Products by and/or from NSC.

    129.        Wave and Bernard knowingly have induced (and are continuing to induce), and/or

         knowingly have received (and are continuing to receive) the prohibited discrimination in

         price, in part or in whole, in exchange for: (i) NSC's agreement to provide Wave with Nortek

         products below its competitors’ costs; (ii) Wave providing NSC representatives, including

         but not limited to, Bernard complimentary gifts, services, meals, etc; and (iii) Wave

         providing bribes to NSC representatives, including but not limited to, Bernard, cash

         payments via the delivery of checks, cash and American Express gift cards.

    130.        The effect of Wave and Bernard 's predatory actions and unfair business conduct as

         referenced herein has been substantially to lessen competition in the affected line of

         commerce.

    131.        Wave and Bernard 's predatory actions and unfair business conduct as aforesaid have

         injured, destroyed and/or prevented fair competition among SDS, the Favored Purchaser and

         perhaps other favored distributors, who have received the benefit of NSC's price

         discrimination.

    132.        Upon information and belief, Wave and Bernard 's predatory actions and unfair

         business conduct have injured, destroyed and/or prevented fair competition among SDS' and

         its competitors' customers.


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    133.        Wave and Bernard's predatory actions, knowing inducement and/or receipt of

         discriminatory pricing and unfair business conduct as aforesaid constitute multiple violations

         of the antitrust laws of the United States including, but not limited to, of the Robinson

         Patman Act, 15 U.S.C. §13(a) and 15 U.S.C. §13(f).

    134.        As a direct and proximate result of Wave and Bernard 's predatory actions, knowing

         inducement and/or receipt of discriminatory pricing and unfair business conduct as aforesaid,

         SDS has suffered substantial economic losses and other damage to its business, reputation

         and customer goodwill, including, but not limited to, lost sales and profits.

                                            COUNT - III

                  VIOLATIONS OF 15 U.S.C. §13(d) (Robinson-Patman Act)

    135.        SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.

    136.        NSC, Wave and Bernard, being persons engaged in commerce, in the course of such

         commerce as described herein above, have offered, granted and paid rebates and/or

         allowances, or other items of value, to or for the benefit of the Favored Purchaser as

         compensation or in consideration for services and/or facilities furnished by or through the

         Favored Purchaser in connection with the processing, handling, sale, or offering for sale of

         the Nortek Products by NSC.

    137.        The rebates and/or allowances, or other items of value offered, granted and paid by

         NSC, Wave and Bernard, to or for the benefit of the Favored Purchaser as above set forth,

         were not made available on proportionally equal terms to all other customers (including, but

         not limited to, SDS) competing in the distribution of Nortek Products.




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    138.         The effect of NSC, Wave and Bernard’s predatory actions and unfair business

         conduct as aforesaid has been substantially to lessen competition in the affected line of

         commerce.

    139.         NSC, Wave and Bernard 's predatory actions and unfair business conduct have

         injured, destroyed and/or prevented fair competition among SDS and its competitors, who

         have received the benefit of NSC's rebates and/or allowances, or other items of value.

    140.         NSC, Wave and Bernard 's predatory actions and unfair business conduct as aforesaid

         have injured, destroyed and/or prevented fair competition among SDS's and its competitors'

         customers.

    141.         NSC, Wave and Bernard 's rebates and/or allowances, or other items of value offered,

         granted and paid by NSC, Wave and Bernard, to or for the benefit of the Favored Purchaser

         as above set forth, constitute multiple violations of the antitrust laws of the United States

         including, but not limited to, of the Robinson-Patman Act, 15 U.S.C. § 13(d).

    142.         As a direct and proximate result of NSC, Wave and Bernard 's rebates and/or

         allowances, or other items of value offered, granted and paid by NSC, Wave and Bernard, to

         or for the benefit of the Favored Purchaser as aforesaid, SDS has suffered substantial

         economic losses and other damage to its business, reputation and customer goodwill,

         including, but not limited to, lost sales and profits.

                                              COUNT - 4

                                      CORPORATE BRIBERY

    143.         SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.




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    144.        An employee commits the offense of commercial bribery if, without the consent of

         his employer, he intentionally or knowingly solicits, accepts, or agrees to accept any benefit

         from another person on agreement or understanding that the benefit will influence his

         conduct in relation to the affairs of his employer.

    145.        The offense of commercial bribery is complete once the employee accepts the benefit

         or agrees to have his conduct influenced by a benefit, whether or not the employee

         subsequently acts in furtherance of the agreement.

    146.        Bernard, while he was performing the work of his employer, NSC, accepted cash,

         checks, American Express gift cards and other items of value from Wave.

    147.        Wave provided these items of value to Bernard to influence his conduct in relation to

         Wave’s to implementation of its Four Star Program allowing Wave to include all of its small

         dealers into a single dealer that qualified for NSC’s special pricing and rebates.

    148.        Bernard negotiated the special terms between Wave and NSC as a result of Wave

         making the corporate bribes that were accepted by Bernard, and possibly other NSC

         employees.

    149.        Once NSC became aware that Bernard was accepting corporate bribes, Bernard

         resigned from NSC’s employment.

    150.        After Bernard resigned due to the bribery scandal, NSC terminated Bernard’s direct

         supervisor, Adam Kruger.

    151.        Despite terminating Bernard for accepting these bribes, NSC managers have allowed

         the special pricing and rebates provided to Wave to continue. As such, NCS is complicit in

         the act of bribery as it continues to accept Wave as a Favored Purchaser.




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    152.        As a direct and proximate result of the Defendants' corporate bribery scheme, SDS

         has suffered damages, and will continue to suffer damages. SDS is therefore entitled to

         compensatory damages, equitable and declaratory relief, punitive damages, costs and

         reasonable attorney fees.

                                              COUNT - 5

           VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES ACT

    153.        SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.

    154.        This claim under the Louisiana Unfair Trade Practices Act ("LUTPA"), La. Rev. Stat.

         § 51: 1401, et seq., is brought to secure redress for the unlawful, deceptive and unfair trade

         practices perpetrated by the Defendants unfairly discriminating against SDS in the market

         for Nortek Products.

    155.        SDS is a ''person" and "consumer" under LUTPA, and the transactions at issue in this

         suit are "trade or commerce" as defined by LUTPA and the Louisiana case law interpreting

         and applying LUTPA.

    156.        The Defendants' actions or omissions as described herein violate LUTPA, which was

         enacted to protect the consuming public, including SDS, from those who engage in

         unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

         commerce.

    157.        When engaging and competing with SDS for the sale and distribution of Nortek

         Products, Defendants engaged in anti-competitive pricing and knowing and fraudulent

         concealment, suppression, or omission of materials facts with the intent to hide their acts and

         practices.


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    158.          The Defendants' anti-competitive pricing, misrepresentations and concealment of

         material facts constitute unconscionable commercial practices, deception, fraud, false

         pretenses, misrepresentation, or the knowing concealment, suppression, or omission of

         materials facts with the intent that others rely on such in connection with the sale and

         distribution of Nortek Products.

    159.          Said acts and practices on the part of the Defendants were and are illegal and

         unlawful pursuant to LUTPA.

    160.          Defendants' acts and practices in violation of LUTPA began in 2015 and continue to

         run anew each day that Defendants engage in these anti-competitive practices, a continuing

         tort.

    161.          Upon information and belief, the Defendants have intentionally and knowingly

         employed these same unconscionable, deceptive, or unfair acts or practices on other persons

         and consumers in Louisiana as well as in numerous other states in which the Defendants

         operate.

    162.          The above-described actions by Defendants constitute violations of LUTPA.

    163.          LUTPA establishes a private right of action to enforce such violations as outlined

         above and allows for the recovery of treble damages as well as attorney fees and costs

    164.          As a direct and proximate result of the Defendants' violations of Louisiana Law, SDS

         has suffered damages, and will continue to suffer damages. SDS is therefore entitled to

         compensatory damages, treble damages, equitable and declaratory relief, punitive damages,

         costs and reasonable attorney fees.

                                               COUNT - 6

               VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT


{B1291818.2}                                   26
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    165.        SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.

    166.        This claim under the Texas Deceptive Trade Practices Act ("DTPA"), Texas Business

         & Commerce Code § 17:41, et seq., is brought to secure redress for the false, misleading,

         and deceptive acts perpetrated by the Defendants unfairly discriminating against SDS in the

         market for Nortek Products.

    167.        SDS is a "consumer" under DTPA, and the transactions at issue in this suit are "in the

         conduct of any trade or commerce" as defined by DTPA and the Texas case law interpreting

         and applying DTPA.

    168.        The Defendants' actions or omissions as described herein violate DTPA, which was

         enacted to protect the consuming public, including SDS, from those who engage in

         unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

         commerce.

    169.        When engaging and competing with SDS for the sale and distribution of Nortek

         Products, Defendants engaged in a knowing and fraudulent concealment, suppression, or

         omission of materials facts with the intent to hide their acts and practices.

    170.        The Defendants' misrepresentations and concealment of material facts constitute

         unconscionable commercial practices, deception, fraud, false pretenses, misrepresentation, or

         the knowing concealment, suppression, or omission of materials facts with the intent that

         others rely on such in connection with the sale and distribution of Nortek Products.

    171.        The Defendants' actions or omissions as described herein were intentional acts

         perpetuated by Defendants.




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    172.         As the Defendants acts were intentional, SDS is entitled to an award of “additional

         damages” in an amount not exceeding three times the actual damages.

    173.         Said acts and practices on the part of the Defendants were and are illegal and

         unlawful pursuant to DTPA.

    174.         Defendants' acts and practices in violation of DTPA began in 2015 and continue to

         run anew each day that Defendants engage in these anti-competitive practices, a continuing

         tort.

    175.         Upon information and belief, the Defendants have intentionally and knowingly

         employed these same unconscionable, deceptive, or unfair acts or practices on other persons

         and consumers in Texas as well as in numerous other states in which the Defendants operate.

    176.         The above-described actions by Defendants constitute violations of DTPA.

    177.         DTPA establishes a private right of action to enforce such violations as outlined

         above and allows for the recovery of treble damages as well as attorney fees and costs

    178.         As a direct and proximate result of the Defendants' violations of Texas Law, SDS has

         suffered damages, and will continue to suffer damages. SDS is therefore entitled to

         compensatory damages, treble damages, equitable and declaratory relief, punitive damages,

         costs and reasonable attorney fees.

                                               COUNT - 7

        VIOLATION OF THE CALIFORNIA UNFAIR PRACTICES ACT AND THE

                         CALIFORNIA UNFAIR COMPETITION LAW

    179.         SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.




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    180.        This claim under the California Unfair Practices Act (“UPA”) Cal. Bus. & Prof. Code

         § 16700, et seq. and California Unfair Competition Law ("UCL"), Cal. Bus. & Prof. Code §

         17200, et seq., is brought to secure redress for the unfair pricing, false, misleading, and

         deceptive acts perpetrated by the Defendants unfairly discriminating against SDS in the

         market for Nortek Products.

    181.        The purpose of the UPA and UCL is to protect both consumers and competitors by

         promoting fair competition in commercial markets for goods and services.

    182.        The UPA and UCL define unfair competition to include any unlawful, unfair or

         fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising

         and any act prohibited by the false advertising law.

    183.        The UPA prohibits price discrimination where the intent of the practice is to lessen

         competition.

    184.        The UPA prohibits the payments of commissions or rebates to selected distributors.

    185.        A business act or practice need only meet one of the three criteria—unlawful, unfair,

         or fraudulent—to be considered unfair competition under the UCL.

    186.        SDS is a "competitor" under the UPA and UCL, and the transactions at issue in this

         suit are "unfair" business practices as defined by the UPA and UCL and the California case

         law interpreting and applying the UPA and UCL.

    187.        The Defendants' actions or omissions as described herein violate the UPA and UCL,

         which were enacted to protect marketplace competitors, including SDS, from those who

         engage in unconscionable, deceptive, or unfair acts or practices in the conduct of any trade

         or commerce.




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    188.        When engaging and competing with SDS for the sale and distribution of Nortek

         Products, Defendants engaged in unfair business practices including providing Wave with

         preferential pricing and rebates that were not made available to SDS, or any other companies

         competing with Wave.

    189.        The Defendants' price discrimination, misrepresentations and concealment of

         material facts constitute unconscionable commercial practices, deception, fraud, false

         pretenses, misrepresentation, or the knowing concealment, suppression, or omission of

         materials facts with the intent that others rely on such in connection with the sale and

         distribution of Nortek Products.

    190.        Said acts and practices on the part of the Defendants were and are illegal and

         unlawful pursuant to the UPA and UCL.

    191.        Defendants' acts and practices in violation of the UPA and UCL began in 2015 and

         continue to run anew each day that Defendants engage in these anti-competitive practices, a

         continuing tort.

    192.        Upon information and belief, the Defendants have intentionally and knowingly

         employed these same unconscionable, deceptive, or unfair acts or practices on other persons

         and consumers in California as well as in numerous other states in which the Defendants

         operate.

    193.        The above-described actions by Defendants constitute violations of the UPA and

         UCL.

    194.        The UPA and UCL establish private rights of action to enforce such violations as

         outlined above and allows for the recovery of per violation fines, damages as well as

         attorney fees and costs.


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    195.         As a direct and proximate result of the Defendants' violations of California Law, SDS

         has suffered damages, and will continue to suffer damages. SDS is therefore entitled to

         compensatory damages, treble damages, equitable and declaratory relief, punitive damages,

         costs and reasonable attorney fees.

                                                 COUNT - 8

     BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

    196.         SDS realleges and incorporates by reference all the prior allegations contained in this

         Complaint.

    197.         The common law and Section 1-304 of the Uniform Commercial Code implies into

         every contract a covenant of good faith and fair dealing. That covenant imposes upon each

         party to the contract a duty at all times to act in good faith and to deal fairly with the other

         party, including with respect to the performance and termination of said contract.

    198.         To act in good faith and to deal fairly, the parties at all times must act honestly

         toward each other when performing their contract. When one party engages in an action that

         has the effect of destroying or injuring the rights of the other party to receive the fruits of its

         contract, that party has breached its duty.

    199.         The duties of good faith and to deal fairly are implied into every contract by law,

         including distribution agreements between manufacturers and their distributors.

    200.         NSC, Wave and Bernard 's actions and conduct as aforesaid, and in particular its

         preferential pricing scheme, was demonstrably unreasonable, was undertaken in abject bad

         faith (as herein above demonstrated), and constitutes an elementary and fundamental breach

         of the covenant of good faith and fair dealing implied by law.




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    201.         As a direct and proximate result of NSC, Wave and Bernard 's breach of the implied

         covenant of good faith and fair dealing as aforesaid, SDS has suffered substantial economic

         losses and other damage to its business, reputation and customer goodwill, including, but not

         limited to, lost sales and profits.

                 WHEREFORE, SDS respectfully requests Final Judgment against the Defendants

         for the following relief:

                 On its Causes of Action against NSC, Wave and Bernard, pursuant to 15 U.S.C. § 15,

         and based upon said defendants' applicable violations of the Robinson-Patman Act,15 U.S.C.

         §§13(a), 13(d) and 13(t), as herein above set forth:

                 (i) An award of compensatory damages as determined by the Court, to be trebled;

                 (ii) An award of reasonable attorney's fees and the costs of suit;

                 (iii) An award of prejudgment interest on the compensatory award of damages;

                 (iv) Temporary, preliminary and permanent injunctive relief, enjoining and

         restraining each of said defendants, and each and all of their subsidiaries, affiliates,

         shareholders, members, directors, managers, officers, employees, agents, representatives and

         all persons acting in concert with them or on their behalf, from, directly or indirectly,

         continuing to engage in price discrimination and other predatory conduct prohibited by the

         Robinson-Patman Act; and

                 (v) For such other and further relief, whether of a legal or equitable nature, which the

         Court deems necessary, proper, and/or required based upon the facts and circumstances

         presented; and

                 On the remaining Causes of Action against NSC, Wave and Bernard, as herein above

         set forth:


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                (i) An award of compensatory damages as determined by the Court, together with

         interest thereon;

                (ii) An award of treble and or punitive damages in an amount sufficient to punish said

         defendants for their tortious conduct and to deter them from future violations;

                (iii) An award of reasonable fines for each violation of the California Unfair Practices

         Act and California Unfair Competition Law;

                (iv) An award of reasonable attorney's fees and the costs and disbursements of this

         action; and

                (v) For such other and further relief, whether of a legal or equitable nature, which the

         Court deems necessary, proper, and/or required based upon the facts and circumstances

         presented.

                                               RESPECTFULLY SUBMITTED:

                                               BALDWIN HASPEL BURKE & MAYER, LLC

                                               s/ Lawrence R. DeMarcay, III
                                               DAVID L. CARRIGEE (#3892)
                                               BEVERLY K. BAUDOUIN, (#14423)
                                               THOMAS J. CORTAZZO (#18174)
                                               LAWRENCE R. DeMARCAY, III (#25379) T.A.
                                               LARRY E. MOBLEY (#29990)
                                               STEVEN B. “BEAUX” JONES (#33915)
                                               1100 Poydras Street, Suite 3600
                                               New Orleans, LA 70163
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                                               bjones@bhbmlaw.com




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                                    and


                                    s/ Robert D. Hoffman, Jr.
                                    ROBERT D. HOFFMAN, JR. (#06898)
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                               UNITED STATES DISTRICT COURT


                               EASTERN DISTRICT OF LOUISIANA



 SECURITY DATA SUPPLY                            •k
                                                              CIVIL ACTION NO.


 VERSUS
                                                 *


 NORTEK SECURITY AND CONTROL, *
 LLC, WAVE ELECTRONICS, INC.  *


 AND EARNEST BERNARD                             *


                                                 *

 ******                    *   *   *                  *   *         ******




                                             VERIFICATION

 STATE OF LOUISIANA
 PARISH OF ORLEANS


           BEFORE ME, the undersigned Notary Public, personally came and appeared:


                                       RONALD F. BROUSSARI), JR.


who did depose and state that he has read the above and foregoing Verified Complaint and that all of


the allegations of fact contained therein are true and correct to the best of his knowledge.




                                                              ONALD F. BROUSSARD, JR



SWORN TO AND SUBSCRIBED BEFORE ME
THIS 13?KDAY OF OCTOBER. 2017.


NOTARY PUBLIC
Name:                              —_LAWRENCE R. DEMARCAY III
Notary/ Bar No.:
                                              NOTARY PUBLIC
Commissioned for life.                       LA BAR NO. 25379
                                            STATE OF LOUISIANA
                                   MY GGMMIS9I0N EXPIRES AT DEATH




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PLEASE ISSUE SUMMONS TO:

Nortek Security and Control
Via the Louisiana Long Arm Statute,
Through its Registered Agent for services of process,
Corporation Service Company d/b/a
CSC- Lawyers Incorporating Service
2710 Gateway Oaks Drive
Suite 150N
Sacramento, CA 95833



Wave Electronics, Inc.
Via the Louisiana Long Arm Statute,
Through its Registered Agent for services of process,
Neil M. Rosenstein
Zimmerman, Axelrad, Meyer, Stern & Wise, P.C.
3040 Post Oak Boulevard
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Earnest Bernard
Via the Louisiana Long Arm Statute,
6508 Parkway Avenue
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